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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      :
                                               :
     v.                                        : No. 1:21-cr-00447-CJN-03
                                               :
JOSHUA CHRISTOPHER DOOLIN,                     :
    et al.                                     :

                                   ORDER

      Upon Consideration of the motion to Exclude Introduction of a

Certain Crowd Control Spray Gun and to Dismiss Count 16, by defendant

Joshua C. Doolin, and the record in this case, it is hereby,

      ORDERED this _______ day of March, 2023, the Motion is GRANTED.

The government may not introduce a certain crowd control spray device at

trial, and Count 126 of the Indictment is dismissed.




                                         _______________________________
                                         Judge, U. S. District Court for the
                                         District of Columbia




Copies to:

All registered case registered parties




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